
Noah Trading Co. Inc., Petitioner-Landlord-Respondent,
againstLaura Bell, Respondent-Tenant-Appellant.



Tenant appeals from an order of the Civil Court of the City of New York, New York County (Maria Milin, J.), dated January 22, 2016, which denied her motion for summary judgment dismissing the petition in a holdover summary proceeding and, upon searching the record, granted summary judgment of possession in favor of landlord.




Per Curiam.
Order (Maria Milin, J.), dated January 22, 2016, affirmed, with $10 costs.
The motion court properly searched the record and awarded summary judgment of possession to landlord on its holdover petition, based upon the undisputed showing that the unregulated lease agreement executed by the parties expired by its own terms on January 14, 2015, and that tenant had no right of continued occupancy of the unregulated, Mercer Street apartment. The subject lease contained no right of renewal and tenant's attempt to introduce parol evidence as to representations by the landlord's leasing agent is barred by the merger clause in the lease (see Molos Rests. v Sayegh Mgt. Co., 270 AD2d 320 [2000]; Sioris v 25 W. 43rd St. Co., 223 AD2d 475 [1996]; Arlit Flushing Assoc. v Randle, 2001 NY Slip Op 40236[U] [App Term, 1st Dept 2001]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur 
Decision Date: January 25, 2017










